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 4
     Attorney for Defendant, DONALD MONACO
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 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )               CASE NO. 1:09-CR-00298 OWW
10                               )
          Plaintiff,             )
11                               )               ORDER EXCUSING
         v.                      )               PERSONAL PRESENCE
12                               )               OF DEFENDANT
     DONALD MONACO,              )
13                               )
                 Defendant.      )
14   ____________________________)
15         It is hereby ordered that Defendant Donald Monaco’s motion to be excused
16   from appearing at the status conference and ruling on co-defendant’s motion to
17   dismiss, calendared for February 8, 2010 is granted.
18         The United States Marshal is to be notified in order that Mr. Monaco not be
19   transported from the Fresno County Detention Facility to the court for the hearing.
20         Mr. Monaco is ordered to appear at all future hearing dates unless excused
21   by written order of this Court.
22   IT IS SO ORDERED:
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     Dated: January 23, 2010                     /s/ OLIVER W. WANGER
25                                               HONORABLE OLIVER W. WANGER
                                                 United States District Court Judge
26                                               Eastern District of California
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